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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )         CRIMINAL ACTION NO.
     v.                           )            2:17cr493-MHT
                                  )                 (WO)
EVERETT DARNELL ARMSTRONG         )

                               ORDER

     This case is before the court on defendant Everett

Darnell   Armstrong’s     motion      for   early   termination        of

supervised    release     (doc.       no.   3).      Based    on      the

government’s and the probation department’s support of

the motion, and on Armstrong’s successful completion of

40 months of supervision as a productive, law-abiding

member of society, it is ORDERED that:

    (1) The motion is granted.

    (2) Defendant Everett Darnell Armstrong’s term of

supervised release is terminated effective immediately

and he is discharged.

    DONE, this the 11th day of January, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
